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IN THE UNITED STATES DISTRICT COURT FOR THE
SOUTHERN DISTRICT OF TEXAS, HOUSTON DIVISION

Jeff Samuels ) CIVIL ACTION No.
+) «~4:23-cv-4687
Plaintiff )
Vs. )
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AVT Title Services, LLC, Deutsche Bank ) grae
National Trust Co., PHH Mortgage Corp., ) y P00
Power Default Services Inc. ) oe ei wwe
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Defendants ) oo

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INTERVENOR-PLAINTIFF JOANNA BURKE’S VERIFIED RESPONSE TO
DEFENDANTS MOTION FOR SUMMARY JUDGMENT

TO THE HONORABLE JUDGE, AND ALL INTERESTED PARTIES:

STATEMENT OF FACTS
On April 1, 2025, after normal court operating hours, Joanna Burke received a copy of
Defendants’ Motion for Summary Judgment (“DMSJ”) (Dkt 38) via email from Baker Donelson,
the counsel responsible for removing the action to federal court. This was stricken by the court
(Dkt 39). A replica filing has been submitted by Defendants with the same deficiencies on April
23, 2025 (Dkt 42) and who have failed to communicate or address these issues. Considering
these facts, Plaintiff-Intervenor now refiles her pleading(s).

Joanna Burke has identified alarming inconsistencies in the procedural handling of this

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case under the Federal Rules of Civil Procedure, which have undermined her civil and due
process rights. These discrepancies are not isolated but reflect broader concerns across related

proceedings in this courthouse.

TIMELINE OF KEY EVENTS

1. Sept. 1, 2023: Plaintiff Jeff Samuels, represented by an attorney, filed a case to halt
nonjudicial foreclosure and obtained a $100 cash bond TRO signed by Judge Manor.
2. Sept. 20, 2023: Plaintiff's attorney moved to withdraw; this was granted by court order on
Nov. 20, 2023.
3. Nov. 15, 2023: Defendant AVT Title Services filed its Original Answer and Verified
Denial, despite no formal service of process.
4. Dec. 5, 2023: Joanna Burke filed her Verified Petition in Intervention Seeking Declaratory
Judgment and Application for Injunctive Relief.
5. Dec. 12, 2023: Joanna Burke filed her Verified Motion for Summary Judgment in state
court prior to removal.
6. Dec. 15, 2023: Defendants removed the case to federal court citing:
o 28 U.S.C. § 1446(b)(1): Arguing timeliness as PHH, Deutsche Bank, and Power
Default had not been formally served with process.
o 28 U.S.C. § 1332: Claiming original jurisdiction based on diversity of citizenship
and an amount in controversy exceeding $75,000, exclusive of interest and costs.
7. Dec. 18, 2023: Joanna Burke filed her Verified Emergency Motion to Retain Jurisdiction
after removal, highlighting procedural deficiencies and citing strict removal law, docketed

on Dec. 19, 2023 (EXHIBIT 1).
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8. March 25, 2025: Judge Bennett issued an order denying Plaintiff's motion to remand and
Defendants’ motion(s) to dismiss, while ambiguously recognizing Joanna Burke as an
“active participant” in the case (Dkt 37, footnote n.1).

9. April 1, 2025: After normal court operation hours, Defendants filed their Motion for
Summary Judgment (““DMSJ”), continuing procedural inconsistencies that misrepresent
the true facts, which in turn undermine Joanna Burke's civil and due process rights (Dkt
38).

10. Latest Filings: Discussed in opening statement. This response addresses the operative

pleading, Dkt 42.

I. INTRODUCTION

Federal courts operate under limited jurisdiction and may only adjudicate claims within
constitutional or statutory authority. Strict adherence to removal statutes is essential to preserving
jurisdictional validity.

Intervenor-Plaintiff Joanna Burke asserts that Judge Bennett’s acknowledgment of her
procedural status cannot override jurisdictional deficiencies stemming from improper removal.

This response highlights procedural errors and jurisdictional ambiguities that demand

remand to state court.

Preliminary Objection:
The Court Must Resolve Jurisdiction Before Addressing Merits

Defendants’ Motion for Summary Judgment improperly delves into the merits of
Intervenor-Plaintiff Joanna Burke’s claims without the Court first establishing its subject-matter

jurisdiction.
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Under longstanding principles of federal procedure, jurisdictional questions must be
resolved as a threshold matter before any substantive evaluation of claims or defenses (Ruhrgas
AG v. Marathon Oil Co., 526 U.S. 574, 577 (1999)).

The ‘Court's authority to proceed is contingent on proper adherence to jurisdictional
requirements under 28 U.S.C. §§ 1331 and 1332. In this case, the alleged improper joinder of
AVT Title Services and Power Default Services, as well as the valuation of Intervenor-Plaintiff
Joanna Burke’s claims, raise significant procedural questions that must be settled first.

Any attempt to assess the merits of the Intervenor-Plaintiff’s claims, including her interest
in the case, is premature and procedurally improper at this stage.

Until jurisdiction is established, all such arguments must be set aside.

Ii. LEGAL STANDARD

Federal courts must possess statutory or constitutional authority to adjudicate a claim.
Removal statutes are strictly construed, with any failure to establish jurisdiction necessitating
remand under 28 U.S.C. § 1447(c).

1. Jurisdictional Limitations: Federal courts require statutory authority to adjudicate cases.
See Home Builders Ass’n of Miss., Inc. v. City of Madison, 143 F.3d 1006, 1010 (Sth Cir.
1998).

2. Burden of Proof: The removing party bears the burden of proving jurisdiction. See De
Aguilar v. Boeing Co., 47 F.3d 1404, 1408 (Sth Cir. 1995).

3. Duty to Assess Jurisdiction: Federal courts have an independent duty to assess
jurisdiction at any stage of proceedings. See Ruhrgas AG v. Marathon Oil Co., 526 US.

574, 583 (1999).
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TW. ARGUMENT
A. Procedural Deficiencies in Removal

Defendants’ removal violated statutory requirements under 28 U.S.C. § 1446, including:

1. Rule of Unanimity Violation: Defendants failed to secure unanimous consent from AVT
Title Services, LLC (“AVT”). See Getty Oil Corp., Div. of Texaco, Inc. v. Ins. Co. of N.
Am., 841 F.2d 1254, 1262 (Sth Cir. 1988).

2. Improper Classification of AVT: AVT was misclassified as a nominal party despite
substantive participation. See Newman-Green, Inc. v. Alfonzo-Larrain, 490 U.S. 826, 838
(1989).

B. Failure to Establish Federal Jurisdiction
Defendants’ removal fails to meet jurisdictional requirements under both diversity and federal
question standards:

e Diversity Jurisdiction: Joanna Burke’s Verified Petition raised claims solely under Texas
law, precluding diversity jurisdiction under 28 U.S.C. § 1332.

e Federal Question Jurisdiction: No claims “arising under” federal law were presented,
invalidating jurisdiction under 28 U.S.C. § 1331.

C. Judicial Ambiguity in Federal Court
Judge Bennett’s order ambiguously recognized Joanna Burke’s status as a Plaintiff-
Intervenor but failed to address substantive filings, including her Verified Motion for Summary
Judgment.
While her motion directly challenged Defendants’ claims and procedural jurisdiction, the

federal court’s failure to address it reflects a broader pattern of procedural oversight that
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undermines the integrity of these proceedings.

By sidelining substantive filings, the federal court exacerbates uncertainties in its

jurisdictional foundation, further strengthening the argument for remand to state court.
D. Fraudulent Removai Allegations

The removal of this case to federal court is tainted by material misrepresentations and
procedural deficiencies that undermine its legitimacy, constituting fraudulent removal under
established legal principles.

Defendants misrepresented Joanna Burke's status as "nonsuited, dismissed or
terminated," despite clear evidence of her active participation (EXHIBIT 1 [EXHIBIT F1];
Dkt 1-3 and 1-4).

This deliberate mischaracterization skewed the removal process by excluding a critical
party whose filings challenged the jurisdictional and procedural validity of Defendants’ claims.

Similarly, Defendants’ classification of AVT as a nominal party contradicts Texas law,
which recognizes the trustee’s substantive responsibilities in foreclosure proceedings (Thayer v.
Life Association, 112 U.S. 717, 719 (1885); Davies Enters. v. Blue Sky Bank, No. SA-23-CV-
01527-JKP (W.D. Tex. Apr. 9, 2024)).

The court’s strict limitation to pleadings at the time of removal does not preclude
consideration of post-removal evidence when fraudulent removal is alleged.-

Courts have consistently held that jurisdictional defects discovered post-removal invalidate
the removal itself (Cliff v. Bonner, 770 S.W.2d 97, 99 (Tex. App. 1989)) (“Failure to comply
with removal statutes deprives federal courts of jurisdiction.”); Smallwood v. Illinois Central

Railroad Co., 385 F.3d 568, 573 (Sth Cir. 2004)).
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Joanna Burke’s Dec. 18 filing (Exhibit 1) exposes procedural violations that implicate both
the substitute trustee and Defendants, directly challenging the validity of removal.

Defendants’ procedural bad faith, exemplified by their material misrepresentations and
disregard for statutory requirements, justifies the court's consideration of Exhibit 1.

This filing is integral to understanding the full scope of procedural defects and fraudulent
conduct that undermine federal jurisdiction. The removal’s invalidity reinforces the case for
remand to state court, where these claims can be properly addressed.

Furthermore, the Fifth Circuit’s published opinion in Wilson v. Kemper Corporate
Services, Inc., No. 24-60090, Sth Cir., Apr. 11, 2025 (pub. op. ), reaffirms that improper joinder
only applies when there is no possibility of recovery under state law (Smallwood v. Illinois Cent.
R. Co., 385 F.3d 568, 573 (Sth Cir. 2004), en banc).

The court emphasized that piercing the pleadings for a more detailed factual analysis is
permissible only under “limited circumstances” to assess discrete and undisputed facts that
would preclude recovery.

Here, Judge Bennett failed to consider Joanna Burke's Verified Petition and Motion for
Summary Judgment, which substantively detailed procedural violations implicating AVT. These
claims establish a reasonable possibility of recovery, invalidating the improper joinder
determination and undermining the legitimacy of federal jurisdiction.

The Fifth Circuit also underscored that substantive claims must be reviewed under Rule
12(b)(6) standards, stating that if a plaintiff's claims survive this threshold, joinder is proper
(Wilson, No. 24-60090, pub. op.).

Joanna Burke’s claims against AVT clearly surpass this threshold under Texas law, further
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highlighting the procedural defects in removal and reinforcing the case for remand to state court.
Failure of Diversity Jurisdiction

Joanna's intervention underscores her restrained and precise demands -—- a declaratory
judgment, modest court costs of around $200, and specific injunctive relief, including the
Temporary Restraining Order (TRO).

Importantly, her valuation falls definitively under $75,000, as evidenced in the December 18 —
motion, now labeled as EXHIBIT 1 and attached to this response.

Joanna Burke’s claim is distinct and separate from Plaintiff Jeff Samuels’ claims for purposes
of diversity jurisdiction. Her valuation, as detailed in EXHIBIT 1, falls definitively under the
$75,000 threshold and does not meet the statutory requirement under 28 U.S.C. § 1332. This failure
independently undermines diversity jurisdiction and further invalidates the removal of this case to
federal court.

The Defendants' reliance on diversity jurisdiction falters without meeting the statutory
monetary threshold, rendering their removal legally baseless.

The Substitute Trustee is Not a Nominal Party
As highlighted in the December 18 motion (EXHIBIT 1), the substitute trustee's role is far from
nominal and demands strict compliance with Texas foreclosure law.

The motion references longstanding legal precedent, such as Thayer v. Life Association, 112
U.S. 717, 719 (1885), which emphasizes the trustee's active role in foreclosure proceedings.

Furthermore, case law like Harwath v. Hudson underscores that strict adherence to notice
requirements under the deed of trust is a prerequisite for the trustee's authority to conduct a sale.

Indeed, recently US District Judge Pulliam remanded a case for this very reasoning. See;

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Davies Enters. v. Blue Sky Bank, No. SA-23-CV-01527-JKP (W.D. Tex. Apr. 9, 2024).

In this case, supported by this response and in conjunction with Dkt 1 as filed with removal
Exhibits, the substitute trustee failed to meet these compliance requirements, as evidenced by the
notice of foreclosure sale listing the indebtedness as zero dollars (EXHIBIT 1, EXHIBIT F2) —
a procedural defect that combined with Judge Hittner’s deficient order itself, invalidates the
legitimacy of the sale. (EXHIBIT 1, EXHIBIT F3).

Additionally, the all-important fact Judge David Hittner’s order is time-barred, in law, as
discussed in great depth in related case Burke v. PHH Mortgage Corporation (4:24-cv-00897),
District Court, S.D. Texas.

Judge Pulliam lists many cases in support of remand and where the substitute trustee is not a
nominal party, stating, in part, that “In Texas, a trustee may be individually liable for failing to
comply with the terms of the deed of trust or the notice and sale provisions of § 51.002 of the
Texas Property Code. Thus, when a plaintiff asserts actual misconduct on the part of the trustee,
a court must assess whether such allegations give rise to a reasonable basis for plaintiff to recover
against the trustee in state court.”.

This irrefutably applies to Plaintiff-Intervenor, Joanna Burke.

This issue is detailed thoroughly in EXHIBIT 1, reinforcing that the trustee's actions are a

substantive legal concern and not merely nominal.

Preservation of Joanna Burke's Right to Remand

Intervenor-Plaintiff Joanna Burke's immediate objection to federal removal, conveyed
through her email, underscores her deliberate and consistent refusal to participate in federal court

proceedings. Notably, the Defendants themselves incorporated this email into their filings,
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effectively validating the legitimacy of her position (as recognized by Defendants in Dkt 42 and
attaching Exhibit C).

By promptly objecting, Joanna Burke maintained procedural integrity and preserved her
right to challenge the removal. Legal precedent, such as Getty Oil Corp. v. Ins. Co. of North
America, 841 F.2d 1254 (Sth Cir. 1988), reaffirms that plaintiffs who act swiftly retain their right
to object to procedural defects in removal petitions.

Joanna Burke’s decisive objection, acknowledged by the Defendants, not only challenges

the flawed removal but further highlights its baseless foundation, cementing the case for remand.

Untimely Recognition of the Intervenor-Plaintiff

Federal courts often stress the importance of timely intervention to uphold procedural
fairness, yet here, the recognition of Joanna Burke as the Intervenor-Plaintiff was anything but
timely. Judge Bennett failed to acknowledge her status until 16 months after removal—deep into
the discovery phase.

This significant delay deprived Joanna Burke of the opportunity to fully assert her legal
standing and effectively participate in the proceedings, undermining the principles of procedural
integrity that federal courts claim to uphold.

This untimely acknowledgment further compounds the issue of Judge Bennett’s improper
joinder assessment, which disregarded AVT’s substantive role as Substitute Trustee under Texas
law. Legal precedents, such as Thayer v. Life Association and Davies Enters. v. Blue Sky Bank,
highlight that trustees hold significant legal responsibilities in foreclosure proceedings and
cannot be dismissed as nominal parties.

Despite this, Judge Bennett dismissed AVT and Power Default as nominal parties, relying

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solely on the insufficient allegations in Plaintiffs Original Petition, while ignoring the
substantive claims raised in Joanna Burke’s Verified Petition.

Joanna Burke’s Verified Petition detailed procedural violations, including deficiencies in
foreclosure notices, which directly implicate AVT and Power Default. The Court’s reliance on
the improper joinder doctrine to dismiss these parties prematurely conflicts with established
principles, such as those in Smallwood v. Illinois Central Railroad Co., 385 F.3d 568, 573 (Sth
Cir. 2004), which require courts to assess whether there exists a reasonable basis for recovery
under state law. By failing to recognize the substantive responsibilities of the trustee and
dismissing AVT and Power Default prematurely, the Court compounds the procedural
ambiguities surrounding Joanna Burke’s standing, further strengthening the argument for remand
to state court.

IV. REQUESTED RELIEF
For the reasons stated herein, Intervenor-Plaintiff Joanna Burke respectfully requests:
1. Denial of Defendants’ Motion for Summary Judgment due to unresolved procedural and
jurisdictional ambiguities.
2. Dismissal of this case for lack of subject matter jurisdiction under 28 U.S.C. § 1447(c) and
remand to state court.
A proposed order has been filed separately.
DECLARATION
Pursuant to 28 U.S.C. § 1746, a litigant may submit an unsworn declaration in lieu of a
sworn affidavit as evidence in federal court proceedings, including in opposition to summary

judgment. See Nissho-Iwai Am. Corp. v. Kline, 845 F.2d 1300, 1305 (Sth Cir. 1988) (‘Section

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1746 allows a written unsworn declaration, subscribed as true under penalty of perjury, to
substitute for an affidavit.’).

I, Joanna Burke, residing at 46 Kingwood Greens Dr, Kingwood, Texas, 77339, declare
under penalty of perjury under the laws of the United States of America that the information
contained herein is true and correct.

CONCLUSION

Judge Bennett’s order exemplifies a lop-sided approach that undermines procedural
integrity and due process. By dismissing AVT and Power Default as nominal parties and mooting
Intervenor-Plaintiff Joanna Burke’s filings without substantive review, the Court deprived her of
a meaningful opportunity to be heard—the cornerstone of constitutional due process.

This omission exemplifies the broader pattern of procedural ambiguity and unfairness that
has marred these proceedings, but it does not overcome Intervenor-Plaintiff's argument that this
court lacks subject-matter jurisdiction and cannot avoid the facts presented by Joanna Burke,
mandating remand.

The Fifth Circuit’s recent April 11, 2025 published opinion in Wilson v. Kemper Corporate
Services, Inc., No. 24-60090, reaffirms that improper joinder analysis must thoroughly assess the
possibility of recovery under state law.

Judge Bennett’s failure to properly evaluate Intervenor-Plaintiff Joanna Burke’s Verified
Petition, alongside procedural ambiguities surrounding AVT’s foreclosure conduct, mirrors the
jurisdictional errors reversed in Wilson. These parallels mandate remand to state court, where all
parties’ substantive claims can receive fair and thorough consideration.

For the reasons stated above, this Court should GRANT Intervenor-Plaintiff’s requested

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relief and provide any additional relief to which Plaintiff is entitled.

RESPECTFULLY submitted this 5th day of May, 2025.

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Ka Burke, Harris County

State of Texas / Pro Se

46 Kingwood Greens Dr
Kingwood, Texas 77339

Phone Number: (281) 812-9591
Fax: (866) 705-0576

Email: joanna@2dobermans.com

CERTIFICATE OF SERVICE

Thereby certify that a true and correct copy of the foregoing document was served on May 5,
2025 as stated below on the following:

VIA U.S. Mail:

Nathan Ochsner
Clerk of Court

P. O. Box 61010
Houston, TX 77208

VIA Email:
estroope@bakerdonelson.com
adelrio@bakerdonelson.com

EMILY STROOPE |

State Bar No. 24070692

ALEXIS DEL RIO

State Bar No. 24120796

BAKER, DONELSON, BEARMAN,
CALDWELL & BERKOWITZ, P.C.
5956 Sherry Lane, 20th Floor

Dallas, Texas 75225

Telephone: (713) 650-9700

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Facsimile: (713) 650-9701

Attorneys for Defendants PHH Mortgage

Corporation and Deutsche Bank National Trust

Company, as Trustee for FFMLT TRUST 2004-

FF3, Mortgage Pass-Through Certificates, Series 2004-FF3

VIA Email:
Jeffuben@gmail.com

Jeff Samuels
14810 Winding Waters Drive
Cypress, TX 77429
Pro Se Plaintiff f
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eo
Joanna Burke, Harris County .
State of Texas / Pro Se

46 Kingwood Greens Dr
Kingwood, Texas 77339

Phone Number: (281) 812-9591
Fax: (866) 705-0576

Email: joanna@2dobermans.com

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IN THE UNITED STATES DISTRICT COURT FOR THE
SOUTHERN DISTRICT OF TEXAS, HOUSTON DIVISION

Jeff Samuels ) CIVIL ACTION No.
) 4:23-cv-4687
Plaintiff )
vs. )
)
AVT Title Services, LLC, Deutsche Bank )
National Trust Co., PHH Mortgage Corp., )
Power Default Services Inc. )
)
Defendants )
)
)
ORDER

The Court has considered the arguments presented in Intervenor-Plaintiff Joanna Burke’s
Response to Defendants’ Motion for Summary Judgment, along with the procedural objections
raised therein. Upon review, the Court finds that Defendants Motion for Summary Judgment is
premature and procedurally improper.

It is therefore ORDERED that:

1. Defendants’ Motion for Summary Judgment (Dkt 42) is DENIED as premature, pending

resolution of contested subject-matter jurisdiction.

2. The Court defers all substantive considerations until jurisdictional ambiguities are fully

resolved.

IT IS SO ORDERED.

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SIGNED on this

ALFRED HOMER BENNETT
UNITED STATES DISTRICT JUDGE

